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                                   STATEMENT OF FACTS


        On Friday, March 7, 2025, at approximately 5:45 P.M. , members of the Metropolitan
Police Department's Robbery Suppression Unit were working the evening tour of duty.
Investigators were dressed in plainclothes with police outer vests and were utilizing marked and
unmarked police cruisers.
        At that time, officers observed that Joseph Thompson (“THOMPSON”), was standing in
front of South Capitol Liquor Store, located at 4654 Livingston Road SE. As officers turned into
the block, THOMPSON abruptly stopped talking to another male and THOMPSON quickly
entered into the liquor store. Officers then parked their cruisers and entered inside the store to
conduct a business check. Investigator Todd stood outside the business, and subsequently observed
THOMPSON exit the store with a black bag in his right hand. Investigator Todd noticed that the
bag did not appear to be substantially heavy; however, THOMPSON’s right arm was pressed
against his body. THOMPSON was wearing a black coat which was unzipped, and, by holding
his right arm against his body, he prevented his coat from blowing open. Investigator Todd then
observed Investigator Guzman exit out of the store in an attempt to make contact with
THOMPSON.
        Investigator Guzman began speaking with THOMPSON, with Investigator Guzman
positioned behind THOMPSON as THOMPSON was walking forward. THOMPSON did not
turn around fully while chatting with Investigator Guzman. THOMPSON’s unzipped coat was no
longer shielded by the THOMPSON’s arm. Consequently, officers saw a heavily weighted
rectangular object in THOMPSON’s right front jacket pocket.
        At that point, as THOMPSON continued walking away from Investigator Guzman,
Investigator Guzman made a comment to THOMPSON that THOMPSON’s right pocket looked
heavy. Upon Investigator Guzman saying that to THOMPSON, THOMPSON immediately ran
away from the officers. Officers followed after THOMPSON, where officers observed
THOMPSON move the black bag he had in his right hand to his left hand and began reaching
towards his right jacket pocket with his right hand. Officers then observed THOMPSON tossing
a firearm from his right hand towards the street. At the same time, an officer heard a loud clank of
the firearm striking the ground. THOMPSON was quickly apprehended and secured into
handcuffs.
        Officers recovered a firearm from the location where the object THOMPSON tossed
landed. The firearm appeared to be fully functional, designed to expel a projectile by the action of
an explosive, and has a barrel length of less than 12 inches and is capable of being fired by use of
one hand. The firearm recovered was a black Glock 21, .45 caliber, semi-automatic pistol, bearing
serial number KHR171. The firearm had 1 round chambered, with 13 additional rounds, inside a
13-capacity magazine.
        Search Incident to THOMPSON’s arrest revealed a ¾ full ounce vial, containing an amber
liquid, with a smell consistent with Phencyclidine (PCP). The search also revealed 3 multi-colored
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pills, and a clear bag, containing approximately 23 grams of a white powdery substance, which
field tested positive for amphetamines.
        A law enforcement query confirmed that the firearm was not registered in the District and
that THOMPSON did not have a concealed carry permit. A review of THOMPSON’s criminal
history revealed that THOMPSON was previously convicted of a felony by the Arlington Circuit
Court docket #CR16001009-00 on January 24, 2017, where he was sentenced to a total of 5 years
of incarceration. Therefore, at the time THOMPSON possessed the firearm and ammunition, he
had been convicted of a crime punishable by imprisonment for a term exceeding one year and had
knowledge of that fact.
       There are no firearms or ammunition distributors in the District of Columbia, therefore, the
firearm and ammunition must have travelled in interstate commerce.
       As such, your affiant submits that probable cause exists to charge Joseph THOMPSON
with a violation of 18 U.S.C. 922(g)(1) (Unlawful Possession of Ammunition By a Person
Convicted of a Crime Punishable by Imprisonment for a Term Exceeding One Year).




                                           _________________________________________
                                           Special Agent Angelica Serrata
                                           Bureau of Alcohol, Tobacco, Firearms and Explosives




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1. by
telephone, this 11th day of March 2025.


                                                      ___________________________________
                                                      HONORABLE G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
